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EXHIBIT 1

 

 

 

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AFFIDAVIT

State ofNew Yorl< )
)Ss.

County of /Ve~ VOrI/<)
`Stevedr§agoda, being duly sworn, deposes and says:
l. lam a Group Supervisor currently assigned to the ICE SAC/NY office at 601 W26th

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of federal law enforcement experience I have been a Superviso_r for approximately five years.

2. Since my testimony in the EEO case of my employee, Sunil Walia, I haven been
constantly harassed and retaliated against by DHS/ICE management I did not volunteer to testify,
but was told to do so as part of the EEO investigation

3. On or about March 16, 2007, I provided testimony to an Internal Affairs investigator
Who was conducting an investigation into Sunil Walia’s allegation of retaliation and discrimination
because he had engaged in protected EEO activities

4. On March 19, 2007, the DHS/ICE management attempted to retaliate against me for
providing truthful testimony in Mr. Walia’s case by attempting to involuntarily transfer out of my
operational position to an administrative position at the JFK office DHS/ICE Was told that they
Would be violating the EEO laws if they involuntarily transferred me as a result of my testimony in

Walia's EEO case. DHS/ICE management did not transfer me.
5. On July 12, 2007, l was deposed in the case of Walia v. Chertojj‘ by Sunil Walia‘s

attorney, Louis D. Stober. Also, present during the deposition was AUSA Pantoja and DI-IS/ICEv

attorney David Suna. I testified that DHS/ICE did violate EEO laws and retaliated against Mr.

Walia. l also stated that l feared additional retaliation against me by ICE management, the ICE

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Office of Principal Legal Advisor, and the U.S. Attorney's office because of my truthful testimony

at deposition

. 6. On September 30, 2007, my computerized personnel folder showed that I was
. / A thwart w i' ~#”/
reassigned to the DSAC/NY office from DSAC/JFK office I believed this trans er to be the result

of retaliation by DHS/ICE management as a'result of my ‘depo‘sition'in"Walz‘a v. "C‘h`erz‘ojj”‘; H’owever,

7. ' Since my deposition and testimony in Walia's case I have received a hateful email
from another ICE JFK Supervisor Patrick Ahearne as retaliation

8. On October 24, 2007, DHS/ICE retaliated against me, because of my deposition
testimony, when I received a written reprimand from ICE management for forwarding a routine e-
mail to my employeesl DHS/ICE management was angry at my truthful EEO deposition testimony.

9. On November Sth, 2007, I filed an administrative grievance against ICE managers
at IFK for the issuance of the written reprimand because it was issued in retaliation to my EEO and
Internal Affairs related activities. The grievance was sent to Acting Special Agent in Charge
Salvatore Delasandro.

10. Upon information and belief, on December 4, 2007, an'ICE managers meeting took
place in the office of the ICE Speoial Agent in Charge, located at 601 W 26th, Street, 7_th Floor, NY,
NY lOOOl. This "Tuesday morning" meeting is called the weekly ASAC meeting The meeting

consists of all the ASACs in the SAC/NY office and JFK office. The two Deputy SACS also attend

it. This meeting was attended by Acting Speoial Agent in Charge (Deputy SAC) Salvatore»

' D* Acting Deputy SAC JFK Mona F-, ASAC Patricia S*and Mare L¢(J'FK), -

and ASACs ChristopherA”Group Supervisor Marc MActing ASAC), and ASAC Peter

 

 

 

 

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1 1. At this meeting a manager that was present stated thatl was going to be transferred

from the JFK, Jamaica, Queens,- NY, office (where I was previously stationed) to the NYC .

(SAC/NY) in an effort to force me to retire This statement was made openly in front of all managers

present

121 " on or around D"e'@'é'inbér 2'0, `2'007", "I 're¢e'iveci"‘a memorahdum issued by 'Aaiag '

Special Agent iii Charge Salvatore D*involuntarily transferring me from DSAC/JFK office
to the DSAC/NY field office No other Group Supervisors besides me were transferred to another
duty station from DSAC/JFK to DSAC/NY or vice-versa.

13. I was retaliated against for my testimony and deposition in Walia's EEO case Since,
I have given sworn testimony which Was adverse to ICE management and the Go'vernment’s case
I have been routinely and consistently retaliated against by DHS/ICE management. Ihave a perfect
record in the prior 28 years of government service

14. This transfer has resulted in financial harm and is harmful to my professional and
personal life My daily commute has increased by an hour and a half to two hours each day as
compared to the DSAC/JFK duty station. The additional hours that I drive each week is

approximately seven and a half to ten hours per week. I am not compensated for the additional drive

_ time as a result of this transfer.

15 . I have a special needs child who 1 work with every day. The additional time
commuting to and from the New York City office takes away from that time and resulted in undue

stress and anxiety for my child and myself. The time 1 am losing with my family specifically my

special needs child cannot be compensated by money alone

 

 

 

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16. I never requested a transfer to the DSAC/NY office This transfer has relegated me ..
to a support role rather than supervising a group of agents who were working criminal cases. This v
change of assignment is detrimental to my career. This transfer in not career enhancing I supervise

4 a group of agents that support other agent's cases. This transfer has limited my abilities to supervise
a group with diverse responsibilitiesfor investigations of commercial fraud,prohibited merchandise
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at IFK.

17. There has never been a promotion of experienced AIRG (casset forfeiture group)
agents from that group to a supervisory position There has never been a promotion of an AIRG,
Group Supervisor to an Assistant Special Agent in Charge (an level Division head position): Thus
this transfer to this position is not career enhancing It is a dead end assignment

18. My expertise in asset forfeiture is stale Ihave not worked asset forfeiture cases since
October 2001. Since then there has been many changes in asset forfeiture case law, procedures
regarding asset forfeiture in ICE, and points of contact in the law enforcement cominunity'dealing
with asset forfeiture which l am unaware There was simply no legitimate, employment related
reason for this transfer.

1 9. 1 submitted a request for outside employment three years ago. That historical request

regarding my personal life should have no bearing on the government's decision to transfer me from

my position at JFK.

20. There exist two supervisors currently within the SAC/NY office that have prior
Supervisory AIRG, asset forfeiture experience These two supervisors are J'ohn K_, and Jodi

F_. There was no need to transfer me to the SAC/NY office to fill this vacancy left by the

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retiring asset forfeiture Group Supervisor. '

21 . v The AIRG Group (AssetForfeitui'e Group) has been traditionally a position fornewly ~ v
promoted group supervisors to be placed to gain supervisory experience Since 2001 these newly _ .
promoted supervisors were, John-K_; Jodi F_'r, 'Alyssa E*, and Joseph M-

22. ICE management has a history of transferring people from J'FK to the New York City
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@)\i/f]friie:tired upon their transfer were Senior Special Agents Dennis Mc* Jerry S_, and John
J~

23. 'In twenty~eight years. l have never seen a document like the memo generated by
Acting SAC/NY Saivatore Dddated December 20, 2007 (atzazcl%). ICE managers who
are A.cting Sp ecial Agent's in Charge not do send memos directly to first line supervisors (four levels
below tliem) attempting to explain or justify their transfer This document is evidence thatI am
being treated differently because of my EEO testimony in Suriil Walia’s and in my EEO case This
is an attempt by D~to justify this retaliatory transfer clue to my prior and current EEO,
Internal Affairs, and whistleblower activities.

24. On January 2,'2008, ICE JFK Group Superviscr Maria wdvised me that she

has a request on file to be transferred from J`FK to the NYC office That would have been the

supervisor to transfer to the New York City office to fill the position in the AIRG.

 

 

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Sworn to before me this 3 /

day of glen ii a g ¢ , 2008

Notary Public

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attained in Nass 0
My Commlsaton Expiresag§fg%t,yZO_,L

 

